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9      HOWMET AEROSPACE INC. and
10     SCHLOSSER FORGE COMPANY

11
                               UNITED STATES DISTRICT COURT
12
                  CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
13
14     DAVID WALKER, an individual, on              CASE NO. 5:21-CV-01136
       behalf of himself and all others similarly
15     situated,                                    NOTICE OF RELATED CASES
16
                          Plaintiffs                Los Angeles County Superior Court
17                                                  Case No. CIVDS2022311
18           v.                                         (CONCURRENTLY FILED WITH NOTICE OF
19                                                      REMOVAL, DECLARATION OF
       HOWMET AEROSPACE, INC., a                        CARTER L. NORFLEET, DECLARATION
20     Delaware corporation; SCHLOSSER                  OF REBECCA REID, CIVIL COVER SHEET,
       FORGE COMPANY, a Delaware                        CERTIFICATION AND NOTICE OF
21     corporation; and DOES 1-100, inclusive           INTERESTED PARTIES)
22
                          Defendants.
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                                        NOTICE OF RELATED CASES
     Case 5:21-cv-01136-DSF-E Document 2 Filed 07/07/21 Page 2 of 3 Page ID #:382



1            TO THE CLERK OF THE COURT AND TO ALL PARTIES AND TO THEIR
2      ATTORNEYS OF RECORD HEREIN:
3
             PLEASE TAKE NOTICE that pursuant to L.R. 83-1.3, Defendants Howmet
4
       Aerospace Inc. and Schlosser Forge Company (together “Defendants”) hereby notify
5
       the Court and all appearing parties that Jose Navarro v. Howmet Aerospace Inc., et al.,
6
       United States District Court, Central District of California Case No. 2:21-cv-00164-
7
       DSF-E (“Navarro Action”) is related to the instant matter. Both actions (a) arise from
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       the same or a closely related transaction, happening or event; and (b) call for
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       determination of the same or substantially related or similar questions of law and fact.
10
11           Both this matter and the Navarro Action involve mostly the “same parties” and

12     “are based on the same or similar claims.” Specifically, both this matter and the

13     Navarro Action involve claims (on a class wide basis) for: 1) failure to pay all wages

14     (including minimum and overtime wages); (2) failure to provide meal periods or

15     compensation in lieu of; (3) failure to provide rest breaks or compensation in lieu of;

16     (4) failure to provide accurate itemized wage statements; (5) waiting time penalties; (6)

17     failure to reimburse necessary business expenses; and (7) violation of unfair

18     competition law. Both this matter and the Navarro Action involve essentially the same

19     allegations arising from the same common nucleus of facts. Consequently, these cases

20     raise the same questions of law. Furthermore, considerations of judicial economy and

21     the swift administration of justice weigh strongly in favor of relating these cases.

22     Given that these cases involve the same putative class members, challenge the same or

23     similar activities, rely on the same or similar evidence, and require analysis under the

24     same statutes and other legal authorities, there would be a “substantial duplication of

25     labor” if they were heard by different judges. Simply put, it would be a waste of

26     judicial resources and will unduly delay and detract from the efficient determination of

27     the action to have these cases proceed under two separate case numbers in front of two

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                                       NOTICE OF RELATED CASES
     Case 5:21-cv-01136-DSF-E Document 2 Filed 07/07/21 Page 3 of 3 Page ID #:383



1      separate judges.
2
3                                              K&L GATES LLP

4      Dated: July 7, 2021                 By: /s/ Carter L. Norfleet
                                               EUGENE RYU
5                                              CARTER L. NORFLEET
                                               Attorneys for Defendants,
6                                              HOWMET AEROSPACE INC. and
                                               SCHLOSSER FORGE COMPANY
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                                    NOTICE OF RELATED CASES
